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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

)
In re: ) Chapter 11

)
RG Liquidation, Inc., et al. ) Case No. 09-12452 (CSS)
f/k/a RathGibson, Inc., et al.' )
) Related Docket Nos. 987, 988, 993
Debtors. )

)

FINAL DECREE AND ORDER CLOSING DEBTORS’
CHAPTER 11 BANKRUPTCY CASES

 

 

UPON THE MOTION (the “Motion”)’ of Edward A. Phillips, as the plan
administrator ( “Plan Administrator”) of the above-captioned, post-confirmation debtors
(“Debtors”), seeking the entry of an order (this “Order”) closing Debtors’ chapter 11 cases
pursuant to sections 105(a) and 350(a) of the Bankruptcy Code, Bankruptcy Rule 3022, and
Local Rule 3022-1; and the Court having considered the Motion and all related filings; and this
Court possessing jurisdiction over this matter; and venue being proper; and notice of the Motion
having been proper and sufficient; and upon the record herein; and after due deliberation thereon;
and the chapter 11 cases having been fully administered as required by section 350(a) of the
Bankruptcy Code and Bankruptcy Rule 3022, making no further administration necessary; and

good and sufficient cause appearing therefore; it is hereby

 

' The Debtors in these chapter 11 cases (along with the last four digits of each Debtor’s federal tax

identification number or its foreign equivalent and the Debtor’s bankruptcy case number) are: (i) RG Liquidation
ILI, Inc. f/k/a Greenville Tube Company (2689), Case No. 09-12453 (CSS); (ii) RG Liquidation, Inc. f/k/a
RathGibson, Inc. (3283), Case No. 09-12452; (iii) RG Liquidation IV, LLC f/k/a RG Tube Holding LLC (4080),
Case No. 09-12454 (CSS); and (iv) RG Liquidation II, Inc. f/k/a RGCH Holdings Corp. (9683), Case No. 09-12455
(CSS).

° Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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ORDERED, ADJUDGED AND DECREED THAT:

1. The Motion is GRANTED as set forth herein.

2. Effective immediately as of the entry of this Order, the following chapter
11 cases (collectively, the “Chapter 11 Cases’) are hereby closed and a final decree (this “Final
Decree”) is hereby granted for the Chapter 11 Cases: (i) In re RG Liquidation, Inc., Case No.
09-12452 (CSS); (ii) In re RG Liquidation III, Inc., Case No. 09-12453 (CSS); (iii) Inre RG
Liquidation IV, LLC, Case No. 09-12454 (CSS); and (iv) In re RG Liquidation II, Inc., Case No.
09-12455 (CSS).

3. The Court shall retain jurisdiction pursuant to section 350(b) of the
Bankruptcy Code to reopen the Chapter 11 Cases to administer assets, to accord relief to the Plan
Administrator, or for other cause shown, and to the extent necessary to enforce the provisions of

the Plan, the Confirmation Order, and this Order.

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Dated: 3/2é 2014

Wilmington, Delaware

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HONORABLE CHRISTOPHER S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

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